
184 P.3d 1162 (2008)
219 Or. App. 659
In the Matter of A.L.M., Alleged to be a Mentally III Person.
STATE of Oregon, Respondent,
v.
A.L.M., Appellant.
070666442, A136209.
Court of Appeals of Oregon.
Submitted April 4, 2008.
Decided May 7, 2008.
Lance D. Perdue, Portland, filed the brief for appellant.
Hardy Myers, Attorney General, Mary H. Williams, Solicitor General, and Pamela J. Walsh, Assistant Attorney General, filed the brief for respondent.
Before HASELTON, Presiding Judge, and ARMSTRONG, Judge, and ROSENBLUM, Judge.
PER CURIAM.
Appellant in this mental commitment case appeals a judgment committing him to the Mental Health Division for treatment for a period of time not to exceed 180 days. ORS 426.130. The trial court found that appellant suffers from a mental disorder and is a danger to others. The state concedes that the record lacks clear and convincing evidence that defendant's mental illness causes him to be a danger to others. On de novo review, we find the state's concession to be well founded and accept it.
Reversed.
